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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF LOUISIANA
                                  ALEXANDRIA DIVISION


  LOUISIANA COLLEGE,                               )
                                                   )
          Plaintiff,                               )
                                                   )
  v.                                               )            Case No. 1:12-cv-463
                                                   )            JUDGE: Dee D. Drell
  ALEX M. AZAR II, in his official capacity as     )            MAGISTRATE: James D. Kirk
  Secretary of the United States Department of     )
  Health and Human Services; R. ALEXANDER          )
  ACOSTA, in his official capacity as Secretary    )
  of the United States Department of Labor;        )
  STEVEN MNUCHIN, in his official capacity as      )
  Secretary of the United States Department of the )
  Treasury; UNITED STATES DEPARTMENT               )
  OF HEALTH AND HUMAN SERVICES;                    )
  UNITED STATES DEPARTMENT OF LABOR; )
  and UNITED STATES DEPARTMENT OF THE )
  TREASURY,                                        )
                                                   )
          Defendants.                              )
                                                   )
  _________________________________________ )

      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR PERMANENT
                  INJUNCTION AND DECLARATORY RELIEF

                                          INTRODUCTION

         Plaintiff, Louisiana College, has moved pursuant to Federal Rule of Civil Procedure 65

  and 28 U.S.C. § 2201 for entry of a permanent injunction and declaratory judgment in favor of

  Plaintiff against federal regulations that required Plaintiff to offer coverage of contraceptive

  services or to comply with an accommodation process whereby its employees would receive

  coverage through Plaintiff’s health insurance issuers or third party administrators. See ECF No.

  117. Plaintiff’s motion should be denied. Plaintiff has not provided any reason to justify altering

  the final judgment previously entered by this Court in August 2014 (ECF No. 108), much less
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  one of the limited reasons specified in Federal Rule of Civil Procedure 60 for altering a

  judgment. In addition, Plaintiff’s request to “extend” the deadline for filing a motion for

  attorney’s fees should be rejected. The deadline for seeking fees has already expired, and thus,

  Plaintiff has waived any claim to fees.

                                   RELEVANT BACKGROUND

         On August 13, 2014, this Court granted Plaintiff’s motion for summary judgment on its

  Religious Freedom Restoration Act (“RFRA”) claim. See ECF No. 106. The Court entered final

  judgment the same day. See ECF No. 107. On August 14, 2014, the Court entered an Amended

  Judgment to clarify “a confusing statement” made in the August 13, 2014 Judgment. ECF No.

  108, at 1. In the Amended Judgment, the Court, among other things, granted Plaintiff’s motion

  for summary judgment as to its RFRA claim and declared the challenged regulations invalid as

  to Plaintiff. See id. The Amended Judgment also dismissed Plaintiff’s remaining claims as moot

  and without prejudice. See id. at 2.

         On August 25, 2014, Plaintiff moved for an extension of time to file a motion for

  attorney’s fees and nontaxable expenses.1 See ECF No. 109. Plaintiff explained that the Court

  had made clear that it was “entering a final judgment,” and, thus, under Federal Rule of Civil

  Procedure 54(d)(2)(B)(i) and absent a Court order, Plaintiff’s motion for attorney’s fees would

  be due no later than 14 days after the entry of judgment. Id. at 1 (quoting ECF No. 106, at 39).

  Plaintiff noted that Defendants may appeal the Court’s judgment and argued that any fees

  litigation should be delayed until after the Fifth Circuit disposed of any appeal. See id. at 1-2.

  The Court granted Plaintiff’s unopposed extension motion and entered an order stating that




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   Plaintiff requested, and the Clerk awarded, taxable costs in September 2014. See ECF Nos.
  111-112.
                                                    2
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  “Plaintiff’s motion for attorney’s fees and non-taxable expenses shall be due either (a) 21 days

  after the passage of the deadline for the Government to appeal (in the event the Government

  elects not to appeal this Court’s judgment); or (b) 21 days after the U.S. Court of Appeals for the

  Fifth Circuit issues the mandate following disposition of the Government’s appeal (in the event

  the Government proceeds with an appeal).” ECF No. 110.

         Defendants subsequently appealed the Court’s final judgment but ultimately dismissed

  that appeal. On January 5, 2018, the Fifth Circuit issued the mandate dismissing the appeal. See

  ECF No. 115. Plaintiff did not file a motion for attorney’s fees and nontaxable expenses within

  21 days of the issuance of the mandate or otherwise seek to extend the deadline for doing so.

                                             ARGUMENT

  I.     Plaintiff’s Motion for Permanent Injunction and Declaratory Relief Should Be
         Denied Because It Does Not Comply with Rule 60

         A final judgment disposing of this case was entered on August 14, 2014. See ECF No.

  108. Thus, to obtain the permanent injunction and declaratory judgment Plaintiff now seeks,

  Plaintiff must move to amend the final judgment. There are two avenues for seeking to alter a

  final judgment—Federal Rules of Civil Procedure 59(e) and 60. Rule 59(e) requires that “[a]

  motion to alter or amend a judgment . . . be filed no later than 28 days after the entry of the

  judgment.” Fed. R. Civ. P. 59(e). Because the judgment Plaintiff seeks to amend was entered on

  August 14, 2014, well over 28 days ago, this avenue is no longer available to Plaintiff. See

  Harcon Barge Co. v. D & G Boat Rentals, Inc., 784 F.2d 665, 668 (5th Cir. 1986).

         The other avenue—Rule 60—permits a court to “correct a clerical mistake or a mistake

  arising from oversight or omission whenever one is found in a judgment.” Fed. R. Civ. P. 60(a).

  It also authorizes a court to “relieve a party . . . from a final judgment” for specified reasons, like

  inadvertence, surprise, newly discovered evidence, or fraud, or for “any other reason that

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  justifies relief.” Fed. R. Civ. P. 60(b). A party relying on certain of these reasons must file its

  motion within a year after the entry of the judgment, see Fed. R. Civ. P. 60(c)(1)—a deadline

  that also has passed here. For other specified reasons, the motion must be made “within a

  reasonable time.” Id.

         Plaintiff’s motion for permanent injunction and declaratory relief does not cite Rule 60

  (or Rule 59(e)). More importantly, the motion fails to explain how Plaintiff satisfies any of the

  criteria set forth in Rule 60 for altering a final judgment or why Plaintiff believes it has sought

  amendment “within a reasonable time.” Fed. R. Civ. P. 60(c)(1). Plaintiff, for example, does not

  identify any “mistake” in the judgment or suggest that the judgment is “void” or “has been

  satisfied.” Fed. R. Civ. P. 60(a), 60(b)(4)-(5). Indeed, Plaintiff is not even seeking to be

  “relieve[d]” from the judgment, Fed. R. Civ. P. 60(b); it is instead seeking different relief. And

  Plaintiff does not explain why it believes the final judgment already in place—which invalidates

  the challenged regulations as to Plaintiff—is inadequate or why Plaintiff could not have

  requested the relief it now seeks earlier. Because Plaintiff has not provided any reason—much

  less an adequate one—for altering the August 14, 2014 Amended Judgment, Plaintiff’s motion

  should be denied. See, e.g., Diaz v. Stephens, 731 F.3d 370, 374 (5th Cir. 2013) (noting that a

  party seeking relief under Rule 60(b) is “required to show extraordinary circumstances justifying

  the reopening of a final judgment”) (quotations omitted); Maxwell v. Bexar Cty. Hosp. Dist., No.

  SA-06-CA-368-FB, 2007 WL 9710531, at *1 (W.D. Tex. Aug. 9, 2007) (explaining that a Rule

  60 motion is not a “vehicle for rehashing old arguments or advancing theories of the case that

  could have been presented earlier”).




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  II.     The Court Should Not Revive Plaintiff’s Ability to Seek Attorney’s Fees and
          Nontaxable Expenses

          Plaintiff’s Proposed Order asks the Court to direct that “any petition by Plaintiff for

  attorneys’ fees and costs shall be submitted no later than 45 days from the entry of judgment in

  this case.” ECF No. 117-2, at 3. But the deadline for Plaintiff to file a fee petition already

  expired—more than six months before Plaintiff filed the instant motion. See ECF Nos. 110, 115.

  The Court should not revive this deadline, particularly where Plaintiff has offered no valid

  reason to justify its tardiness.

          Under Federal Rule of Civil Procedure 54(d)(2)(B), a motion for attorney’s fees and

  nontaxable expenses “must . . . be filed no later than 14 days after the entry of judgment,”

  “[u]nless a statute or a court order provides otherwise.” Here, Plaintiff previously sought and

  obtained an extension of the fee petition deadline. Specifically, the Court ordered that

  “Plaintiff’s motion for attorney’s fees and non-taxable expenses shall be due . . . 21 days after the

  U.S. Court of Appeals for the Fifth Circuit issues the mandate following disposition of the

  Government’s appeal.” ECF No. 110. The mandate dismissing Defendants’ appeal was issued

  on January 5, 2018, and thus, Plaintiff’s deadline to seek attorney’s fees and nontaxable expenses

  was January 26, 2018. Plaintiff did not file a fee petition by that deadline or otherwise seek to

  extend the deadline.

          The “failure to file” a motion for attorney’s fees and nontaxable expenses “within the

  allotted period” set forth in Rule 54(d) “serves as a waiver of [a party’s] claim for attorneys’

  fees.” United Indus., Inc. v. Simon-Hartley, Ltd., 91 F.3d 762, 766 (5th Cir. 1996). Plaintiff thus

  has forfeited any claim to attorney’s fees and nontaxable expenses in this case.

          Furthermore, even if Plaintiff could move—and actually had moved—to extend the

  attorney’s fee deadline under Federal Rule of Civil Procedure 6(b)(1)(B), such a motion would

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  fail. A plaintiff must demonstrate “excusable neglect” in order to revive a deadline that has

  already passed. Fed. R. Civ. P. 6(b)(1)(B). Although plaintiff does not explain why it failed to

  comply with the attorney’s fee deadline or seek an extension of time, the most likely

  explanation—“[o]versight,” “inadvertence,” or “mistake” on the “part of counsel”—is “not a

  viable basis for excusable neglect.” Atel Mar. Inv’rs, LP v. Sea Mar Mgmt., L.L.C., No. CIV.A.

  08-1700, 2014 WL 235441, at *10 (E.D. La. Jan. 22, 2014) (citing McGinnis v. Shalala, 2 F.3d

  548, 550 (5th Cir. 1993)). Accordingly, the Court should not resuscitate Plaintiff’s already-

  expired deadline to seek attorney’s fees and nontaxable expenses. See, e.g., United Indus., 91

  F.3d at 766 (affirming denial of fee award where motion was untimely); Atel Mar. Inv’rs, 2014

  WL 235441, at *7-*10 (denying untimely motion for attorney’s fees and declining to extend

  deadline).

                                          CONCLUSION

          For all of the foregoing reasons, the Court should deny Plaintiff’s motion for permanent

  injunction and declaratory relief.




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        Respectfully submitted this 12th day of September, 2018,

                                                   JOSEPH H. HUNT
                                                   Assistant Attorney General

                                                   JENNIFER D. RICKETTS
                                                   Director, Federal Programs Branch

                                                   /s/ Michelle R. Bennett              _
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 12, 2018, I electronically filed the foregoing with the

  Clerk of Court using the CM/ECF system, which sent notice of such filing to all parties.

                                                       /s/ Michelle R. Bennett
                                                       MICHELLE R. BENNETT




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